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                       IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                 )
PALOMAR TECHNOLOGIES, INC.,                      )
                                                 )
                      Plaintiff,                 )
                                                 )
       v.                                            C.A. No. 1:18-cv-10236-FDS
                                                 )
                                                 )
MRSI SYSTEMS, LLC,                               )
                                                 )
                      Defendant.                 )

                         MRSI SYSTEMS, LLC’S BILL OF COSTS

       On May 28, 2020, the Court granted MRSI Systems, LLC’s (“MRSI”) motion for

summary judgment of invalidity under 35 U.S.C. § 101, holding that Plaintiff Palomar

Technologies, Inc.’s (“Palomar”) asserted U.S. Patent No. 6,776,327 (the “’327 patent”) is

invalid as directed to a patent-ineligible abstract idea.    ECF No. 772.     The Court entered

judgment in MRSI’s favor that same day. ECF No. 777.

       Pursuant to Rule 54(d) of the Federal Rules of Civil Procedure, MRSI hereby submits its

Bill of Costs. “Unless a federal statute, these rules, or a court order provides otherwise, costs—

other than attorney’s fees—should be allowed to the prevailing party.” Fed. R. Civ. P. 54(d)

(emphasis added). In other words, Rule 54(d) “creates a presumption favoring recovery of costs

by prevailing parties.” Ira Green, Inc. v. Military Sales & Serv. Co., 775 F.3d 12, 28 (1st Cir.

2014). As the prevailing party in this case, MRSI is entitled to recover:

       “(1)    Fees of the clerk and marshal;
        (2)    Fees for printed or electronically recorded transcripts necessarily obtained
               for use in the case;
        (3)    Fees and disbursements for printing and witnesses;
        (4)    Fees for exemplification and the costs of making copies of any materials
               where the copies are necessarily obtained for use in the case; . . . .”

28 U.S.C. § 1920.
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       Based on the statutorily enumerated categories, the local rules, and First Circuit law,

MRSI requests the following costs:


                        Description of Costs                                Amount of Costs

Fees of the Clerk and Marshal (Ex. A)                                          $1,504.15

Fees for Printed or Electronically Recorded Transcripts (Ex. B)                $ 74,065.57

Fees for Exemplification and Costs of Making Copies (Ex. C)                    $44,100.33

                                                                          Total: $119,670.05


Support for each category of costs is discussed herein and itemizations of all costs with

supporting documentation are attached as Composite Exhibits A through C.

I.     Fees of the Clerk and Marshal

       MRSI is entitled to fees of the clerk and marshal under 28 U.S.C. § 1920(1), totaling

$1,504.15. First, MRSI has expended $912.00 in filing fees to defend against Palomar’s action.

Ex. A. MRSI therefore requests that these fees of the clerk be taxed against Palomar in full.

28 U.S.C. § 1914. Second, Fees of the marshal are directed to costs for service of process.

28 U.S.C. § 1921. Courts in this Circuit have long held that private process server fees are also

taxable. Riofrio Anda v. Ralston Purina Co., 772 F. Supp. 46, 55 (D.P.R. 1991), aff'd, 959 F.2d

1149 (1st Cir. 1992) (“[C]osts appropriate in light of the trend toward substitution of private

process servers for the U.S. Marshals Service.”). Additionally, this Court has taxed private

process server fees. See, e.g., ITyX Sols., AG v. Kodak Alaris Inc., No. 16-CV-10250-ADB,

2019 WL 2524760, at *2 (D. Mass. June 19, 2019). MRSI has expended $592.15 in private

process server fees for serving subpoenas for document productions and depositions. Ex. A.

MRSI thus requests taxation of the full amount.

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II.     Fees for Printed or Electronically Recorded Transcripts Necessarily Obtained for
        Use in the Case

        MRSI is entitled to recover “fees for printed or electronically recorded transcripts

necessarily obtained for use in the case.” 28 U.S.C. § 1920(2). MRSI accordingly seeks a total

of $74,065.57 to be taxed against Palomar. Ex. B.

        First, the Court should tax costs for transcripts from pre-trial proceedings. See, e.g.,

Brigham & Women’s Hosp., Inc. v. Perrigo Co., 395 F. Supp. 3d 168, 173 (D. Mass. 2019).

MRSI incurred a total of $5,717.48 for pre-trial transcripts. Ex. B-1. This includes pre-trial

transcripts of a Markman hearing directed to construing claim terms of the ’327 patent,

numerous hearings on extensively disputed discovery matters, and several hearings on summary

judgment motions. These transcripts were necessarily obtained for this litigation as they related

to ongoing briefing, extensive discovery disputes, and were needed for anticipated expert

discovery in the case. Accordingly, MRSI requests the Court to tax $5,717.48 for obtaining pre-

trial transcripts.

        Second, the Court should tax costs for deposition transcripts necessarily obtained for use

in briefing and at trial. 28 U.S.C. § 1920(2); Brigham & Women's Hosp., Inc. v. Perrigo Co.,

395 F. Supp. 3d 168, 172 (D. Mass. 2019); see also Martinez v. Cui, No. CIV. A. 06-40029FDS,

2009 WL 3298080, at *2 (D. Mass. Apr. 13, 2009) (“Necessity is determined as of the time of

taking, and the fact that a deposition is not actually used at trial is not controlling.”). MRSI

deposed the following witnesses and experts in this case:

                Bruce Hueners

                Carl Hempel

                Timothy Hughes

                Daniel Evans


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              John Brajkovich

              Zeger Bok

              Jay Smith

              Edward Willis

              Steven Kunin

              Rodney Brown

MRSI further defended the depositions of the following witnesses and experts:

              Mr. Michael Chalsen

              Mr. Cyriac Devasia

              Mr. Allan Haas

              Mr. Daniel Crowley

              Mr. Jacques Coderre

              Mr. Michael Gagnon

              Mr. Peter Cronin

              Mr. Robert Stoll

              Mr. Terry Kramer

       Obtaining these depositions transcripts was necessary and MRSI relied on them in

numerous briefs. See Dopp v. HTP Corp., 755 F. Supp. 491, 502 (D.P.R. 1991) (“Courts

generally consider a transcript ‘necessarily obtained’ when it was necessary for counsel’s

effective performance and proper handling of the case.”). MRSI necessarily expended a total of

$68,348.09 in obtaining deposition transcripts for use in this case. See Ex. B-2 (detailed and

itemized listing of all obtained deposition transcripts). MRSI requests taxation of the full

amount.



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III.    Fees for Exemplification and Costs of Making Copies

        MRSI is entitled to “[f]ees for exemplification and the costs of making copies of any

materials where the copies are necessarily obtained for use in the case.” 28 U.S.C. § 1920(4).

Copying costs are taxable “so long as they are reasonably necessary for use in the case . . . .”

Osorio v. One World Techs., Inc., 834 F.Supp.2d 20, 23 (D. Mass. 2011).

        MRSI has paid $33,814.64 to third-party vendors for the preparation and copying of

exhibits used during depositions and pre-trial proceedings.      See Ex. C.    The copies were

reasonably necessary and were obtained for the preparation and use of materials for depositions.

As such, the costs for exemplification and copying are taxable.         MRSI further expended

$10,285.69 in procuring in-house copies of necessary papers, including copies of original records

and documents produced in discovery. See id. MRSI thus requests taxation of these copying

costs in full.

IV.     Conclusion

        For the foregoing reasons, MRSI respectfully requests that the Court tax the costs

described herein in the amount of $119,670.05 to MRSI as the prevailing party in this matter.


Dated: June 11, 2020                        Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this date, I served the foregoing document upon the attorneys of

record for all parties by electronically filing the foregoing pleading with the Court using the

CM/ECF system, which will automatically send email notification of such filing to registered

attorneys of record.


Dated: June 11, 2020                               /s/ Peter A. Nieves
                                                   Peter A. Nieves
